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UNITED STATES BANKRUPTCY COURT
DISTRICT OF UTAH
PDF FILE WITH AUDIO FILE ATTACHMENT

      24-21689
      Corbin William Archer and Lisa Ann Collet Archer
      Confirmation Hearing




      Case Type :                    bk
      Case Number :                  24-21689
      Case Title :                   Corbin William Archer and Lisa Ann Collet Archer

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